68 F.3d 459
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lorenzo ADKINS, Plaintiff-Appellant,v.INDIAN CREEK CORRECTIONAL CENTER ACCOUNTING DEPARTMENT,Defendant-Appellee.
    No. 95-7071.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  September 21, 1995.Decided:  October 10, 1995.
    
      Lorenzo Adkins, Appellant Pro Se.
      Before RUSSELL, MURNAGHAN, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order dismissing his 42 U.S.C. Sec. 1983 (1988) complaint.  A magistrate judge assessed a filing fee in accordance with Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and the district court dismissed the case without prejudice when Appellant failed to comply with the fee order pursuant to a report and recommendation of the magistrate judge.  Finding no abuse of discretion, we affirm the district court's order.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    